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 1                                       UNITED STATES DISTRICT COURT

 2                                           DISTRICT OF NEVADA

 3                                                     ***

 4

 5    UNITED STATES OF AMERICA,

 6                          Plaintiff,                   2:13-cr-00040-APG-VCF

 7    vs.                                                ORDER

 8    YAN JUAN ZHEN,

 9                          Defendant.

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11            The parties request to continue the discovery hearing scheduled for 10:00 a.m., December 24,

12   2014. (#106). Trial is scheduled for May 11, 2015. (#106).

13            IT IS HEREBY ORDERED that the discovery hearing scheduled for 10:00 a.m., December 24,

14   2014 is VACATED and continued to 10:00 a.m., February 12, 2015, in courtroom 3D.

15            DATED this 22nd day of December, 2014.

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18                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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